                 Case 22-11068-KBO               Doc 29595          Filed 02/18/25         Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                      )    Chapter 11
                                                                )
    FTX TRADING LTD., et al. 1                                  )    Case No. 22-11068 (JTD)
                                                                )
                      Debtors.                                  )    (Jointly Administered)
                                                                )
                                                                )    Ref. Nos. 20017, 20025, 20026, 25076,
                                                                     25105 & 25107 & 29577
                                                                )

                                      INITIAL SCHEDULING ORDER

             The above captioned debtors and debtors-in-possession (collectively, the “Debtors”)

having filed the Debtors’ Objection to Proofs of Claim filed by North Field Technology Ltd. [D.I.

20017] (the “Claims Objection”) and the Declaration of Steven P. Coverick in Support of Debtors’

Objection to Proof of Claim Filed by North Field Technology Ltd. [D.I. 20025] and the

Declaration of Bruno Requiao Da Cunha in Support of Debtors’ Objection to Proof of Claim Filed

by North Field Technology Ltd. [D.I. 20026]; North Field Technology Ltd. (“North Field”) having

filed its Response of North Field Technology Ltd. to Debtors’ Objection to Proofs of Claim Filed

by North Field Technology, Ltd. [D.I. 25076] and a Declaration of Roman Bieda in support thereof

[D.I. 25105] (together, the “Response”); North Field having filed the Motion of North Field

Technology Ltd. for Entry of an Order (i) Granting Relief from the Automatic Stay; (ii) Waiving

Bankruptcy Rule 4001; and (iii) Granting Related Relief [D.I. 25107] (the “Stay Relief Motion”

and, together with the Claims Objection, the “Contested Matters”); and all assets of the Debtors,

including all claims and causes of action, having been transferred to and vested in the Consolidated



1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and 4063
respectively. Due to the large number of debtor entities in these Chapter 11 cases, a complete list of the Debtors and
the last four digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
            Case 22-11068-KBO          Doc 29595      Filed 02/18/25     Page 2 of 3




Wind Down Trust (the “FTX Recovery Trust” and, together with North Field, the “Parties”) on

January 3, 2025, pursuant to the Bankruptcy Court’s order confirming the Second Amended Joint

Chapter 11 Plan of Reorganization of FTX Trading Ltd. and its Debtor Affiliates [D.I. 29127]; and

the Parties having discussed and agreed to the schedule set forth hereafter;

       IT IS ORDERED that:

       1.      Claims Objection Reply. Any reply in further support of the Claims Objection by

the FTX Recovery Trust shall be filed by no later than March 13, 2025.

       2.      Opposition to Stay Relief Motion. Any opposition to the Stay Relief Motion shall

be filed and served upon North Field’s counsel, Cozen O’Connor, 1201 North Market Street, Suite

1001, Wilmington, DE 19801 Attn: Simon E. Fraser (sfraser@cozen.com) and Marla S. Benedek

(mbenedek@cozen.com) by no later than March 10, 2025.

       3.      Stay Relief Motion Reply. Any reply in further support of the Stay Relief Motion

shall be filed by no later than March 20, 2025.

       4.      Conference. The Parties shall conduct a conference with respect to the Stay Relief

Motion pursuant to Rule 4001-1(d) of the Local Rules of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”) by no later than March 27, 2025 (the “Conference”).

       5.      In addition to the requirements of Local Rule 4001-1(d), at the Conference the

Parties shall also discuss discovery deadlines, potential hearing dates, and whether mediation of

the Contested Matters may be appropriate.

       6.      Within seven (7) days after the conclusion of the Conference, the Parties shall

submit a further proposed joint scheduling order to the Court.




                                                  2
            Case 22-11068-KBO           Doc 29595       Filed 02/18/25     Page 3 of 3




       7.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order




       Dated: February 18th, 2025                          JOHN T. DORSEY
       Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE




                                                  3
